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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

ln re:

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Citadel Watford City Disposal Partners, L.P., et al., , Chapter 11

Case No. 15-11323 (KJC)
Debtors.

 

 

DECLARATION OF EDWARD T. GAVIN, CTP REGARDING IN SUPPORT OF
CONFIRMATION OF THE AMENDED CHAPTER 11 COMBINED PLAN AND
DISCLOSURE STATEMENT OF LIQUIDATION PROPOSED BY THE DEBTORS

l, Edward T. Gavin, CTP, a Managing Director of Gavin/Solmonese LLC, make this
declaration under 28 U.S.C. § 1746:

l. l am a Managing Director of Gavin/Solmonese LLC (“Gavin/Solmonese”), Which
has offices located at 919 N. Market Street, Suite 600, Wilmington, Delaware 19801. l am over
eighteen years of age and neither I nor Gavin/Solmonese are parties to these proceedings l am
familiar With the day-to-day operations, business, and financial affairs of the Debtors. I am duly
authorized to submit this declaration on behalf of Gavin/Solmonese (the “Declaration”). Except

as otherwise indicated, all matters set forth herein are based upon my personal knowledge, and, if

called as a Witness, I could and Would testify competently thereto.

 

1 The Debtors and the last four digits of their respective tax identification numbers are:

Citadel Energy Services, LLC (7762); Pembroke Fields, LLC (0341); Citadel Energy SWD
Holdings, LLC (5266); Citadel Watford City Disposal Partners, LP (1520). The mailing address
for each Debtor is, c/o Gavin/Solmonese 919 North Market Street, Suite 600, Wilmington, DE
19801.

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2. l submit this Declaration in support of the Arnena'ed Jol'nl‘ Combined Disclosure
Statement and Chapter l 1 Combined Plan and Disclosure Statement of Liqaidatz`on Proposed by
the Debtors and the O]j€cial Comrnittee of Unsecured Credilors (as amended, modified or
supplemented, the “Combined Plan and Disclosure Statement”). Capitalized terms not otherwise
defined herein have the same meanings given to them in the Combined Plan and Disclosure
Statement.

3. Except as otherwise indicated, my statements in this Declaration are based on my
personal knowledge and experience as described above, my discussions with relevant employees,
advisors, and agents of the Debtors, and my review of relevant documents, including, without
limitation, any applicable books and records and/or summaries of them prepared for my review
in connection with the Combined Plan and Disclosure Statement and this Declaration. l have
read the Combined Plan and Disclosure Statement, and I am generally familiar with the
information contained in them.

4. If called to testify, l could and would testify as stated herein.

The Combined Plan and Disclosure Statement Properlv Classifies All Claims and Interests

5. lam informed and to the best of my knowledge believe that the Combined
Plan and Disclosure Statement properly classifies all Claims and Equity lnterests that require
classification The Combined Plan and Disclosure Statement reasonably provides for the
classification of Claims and Equity Interests into four classes. These Classes reflect the
differing characteristics of the Claims and Equity Interests between Classes, as well as the
distinct legal rights of the holders of those Claims and Equity lnterests in the separate

Classes. The Claims and Equity lnterests within each Class are substantially similar to the

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other Claims or Equity Interests within the same Class. Thus, l understand that valid
business, factual, and legal reasons exist for the separate classification of Claims and Equity
Interests as set forth in the Combined Plan and Disclosure Statement.

6. Further, the Debtors’ classification of Claims and Equity Interest under the
Combined Plan and Disclosure Statement is not an attempt to manufacture an impaired class that
will vote in favor of the Combined Plan and Disclosure Statement and, as l understand it, does
not result in unfair discrimination between or among holders of Claims or Equity lnterests.
Implementation of the Combined Plan and Disclosure Statement

7. The Combined Plan and Disclosure Statement provides adequate means for its
implementation The Liquidation Trustee has been selected by the Creditors’ Committee and has
been identified in the Combined Plan and Disclosure Statement Supplement.

The Combined Plan and Disclosure Statement Has Been Proposed in Good Faith

8. The Combined Plan and Disclosure Statement was proposed by the Debtors and
the Creditors’ Committee in good faith and in the belief that the proposed liquidation
represents the best path forward to maximize value for the estates by providing for an efficient
liquidation of the Debtors’ remaining assets. On the Effective Date, the Liquidating Trustee
shall sign the Liquidation Trust Agreement in its capacity as Liquidation Trustee, accept all
Liquidation Trust Assets on behalf of the beneficiaries thereof, and be authorized to seek the
turnover, liquidate, and collect all of the Liquidating Trust Assets not in its possession

9. l believe that the foregoing and the support for the Combined Plan and
Disclosure Statement by the Debtors’ primary constituencies demonstrate the overall fairness of

the Combined Plan and Disclosure Statement.

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Releases and Exoneration Provisions in the Combined Plan and Disclosure Statement

10. ln my opinion and to the best of my knowledge, based on consultation with
Debtors’ counsel, the releases and exculpation provisions of the Combined Plan and Disclosure
Statement are warranted, necessary, reasonable, and appropriate, and are supported by sufficient
consent and consideration under the circumstances of the Combined Plan and Disclosure
Statement and the Bankruptcy Case as a whole.

The Combined Plan and Disclosure Statement Is In the Best Interests of Creditors

ll. Based on consultation with Debtors’ counsel, l believe that the Combined Plan
and Disclosure Statement satisfies the “best interests of the creditors” test. For the reasons
explained in the Combined Plan and Disclosure Statement, each holder of an impaired Claim or
Equity Interest that has not accepted the Combined Plan and Disclosure Statement, or is deemed
not to have accepted the Combined Plan and Disclosure Statement, will receive or retain, on
account of such Claim or Equity Interest, property under the Combined Plan and Disclosure
Statement having a value, as of the Effective Date, that is not less than the amount that such
holder would receive or retain if the Debtor was liquidated under chapter 7 of the
Bankruptcy Code on the Effective Date.

12. All holders of Claims and Equity Interests in these cases will fare no worse
under the Combined Plan and Disclosure Statement than they would in a chapter 7 liquidation
As set forth in the Combined Plan and Disclosure Statement, the Estates would incur significant
expenses if required to convert the Chapter ll Cases to chapter 7 cases. Specifically, the
“leaming curve” that the trustee and new professionals would be faced with comes With

significant costs to the Estates and with a delay compared to the time of Distributions under the

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Combined Disclosure Statement and Combined Plan and Disclosure Statement. For all of the
foregoing reasons and the reasons stated in the Combined Plan and Disclosure Statement, l
believe that the Combined Plan and Disclosure Statement is in the best interests of the Debtor’s
creditors

The Combined Plan and Disclosure Statement Does Not Discriminate Unfairlv

13. Based on my understanding from consultation with the Debtors’ counsel, the
Combined Plan and Disclosure Statement does not discriminate unfairly with respect to the
Voting Classes. With respect to the Equity Interests in Class 4, these interests are not
classified separately for the purpose of unfair discrimination because Class 4 comprises all of
the Equity Interests in the Debtors.

14. Based on my understanding of the voting declaration filed by
Gavin/Solmonese and in consultation with Debtors’ counsel, all Classes entitled to vote on the
Combined Plan and Disclosure Statement have voted to accept the Combined Plan and
Disclosure Statement. l also understand that Equity Interests in Class 4 are deemed to have
rejected the Combined Plan and Disclosure Statement. I am informed and believe that the
Combined Plan and Disclosure Statement is fair and equitable with respect to Class 4 because
no holder of an interest that is junior to the Equity Interests in Class 4 is receiving or
retaining any property under the Combined Plan and Disclosure Statement on account of such
interest
The Combined Plan and Disclosure Statement Is Feasible

15. To the best of my knowledge, based on consultation with Debtors’ counsel,

the Combined Plan and Disclosure Statement is feasible for the reasons set forth in the

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Disclosure Statement. Based upon the Debtors’ analysis, the Liquidation Trustee will have
sufficient assets to accomplish its tasks under the Combined Disclosure Statement and Combined
Plan and Disclosure Statement. Accordingly, l believe that the Combined Plan and Disclosure
Statement is feasible.
The Debtors Do Not Owe Retiree Benefits

16. The Debtors do not owe any payments to any entity or person for the purpose of
providing or reimbursing payments for retired employees and their spouses and dependents, for
medical, surgical or hospital care benefits, or benefits in the event of sickness, accident,
disability or death under any Combined Plan and Disclosure Statement, fund or program
(through the purchase of insurance or otherwise) maintained or established in whole or in part by
the Debtors.

The Principal Purpose of the Combined Plan and Disclosure Statement Is Not
The Avoidance of Taxes or Section 5 of the Securities Act

17. I believe that the principal purpose of the Combined Plan and Disclosure
Statement is to liquidate the Debtors’ assets for the benefit of the Debtors’ creditors and
is not the avoidance of taxes or the avoidance of the application of section 5 of the
Securities Act of 1933. l am not aware of any allegation from any party in interest,
including but not limited to any governmental unit, that such avoidance was the purpose of the

Combined Plan and Disclosure Statement.

Adeguate Means for Implementation of the Combined Plan and Disclosure Statement
18. In my opinion and to the best of my knowledge, the means of

implementation Set forth in the Combined Plan and Disclosure Statement are adequate

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Executory Contracts and Unexpired Leases

l9. On the Effective Date, all Executory Contracts and Unexpired Leases not

assumed before the Effective Date will be deemed rejected.

I declare under penalty of perjury that, to the best of my knowledge and after reasonable

inquiry, the foregoing is true and correct.

Dated: January 31, 2017

a/MQ

Edward T. Gavin, CTi’/

